Case 1:18-cr-00025-JPJ-PMS Document 1197 Filed 08/17/20 Page 1 of 2 Pageid#: 15067




                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF VIRGINIA
                           ABINGDON DIVISION

   UNITED STATES OF AMERICA                      )
                                                 )
                                                 )     Case No. 1:18CR00025-023
                                                 )
   v.                                            )            ORDER
                                                 )
   KIMBERLY ANN DRAKE,                           )     By: James P. Jones
                                                 )     United States District Judge
                     Defendant.                  )

         Upon motion of the defendant for a reduction in sentence under 18 U.S.C.

   § 2(c)(1)(A), and after considering the applicable factors provided in 18 U.S.C.

   § 3553(a) and the applicable policy statements issued by the Sentencing

   Commission, and for the reasons stated on behalf of the United States, it is

   ORDERED that the motion, ECF No. 1146, is DENIED after complete review of

   the motion on the merits. The defendant, now 57 years old, was sentenced by

   judgment entered August 22, 2019, to 210 months imprisonment after pleading

   guilty to conspiring to trafficking methamphetamine. Her advisory guideline range

   was 262 to 327 months but the court varied below that range. By order entered May

   5, 2020, her sentence was reduced to 174 months. She suffers from high blood

   pressure, which according to her prison medical records, is “well controlled,” ECF

   No. 1196, at 23 (Nov. 15, 2019), and has “fallen within normal limits,” ECF No.

   1196, at 11 (Feb. 20, 2020).   Considering these facts and the § 3553(a) factors,
Case 1:18-cr-00025-JPJ-PMS Document 1197 Filed 08/17/20 Page 2 of 2 Pageid#: 15068




   including factors (1), 2(A), I find that the defendant is not qualified for such

   extraordinary relief.

                                               ENTER: August 17, 2020

                                               /s/ JAMES P. JONES
                                               United States District Judge




                                         -2-
